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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )
vs.                                                    )            No. 3:94-CR-0225-D (01)
                                                       )
CAROLYN MARIE WILLIAMS,                                )
ID # 26492-077,                                        )
             Defendant.                                )

                    ORDER ACCEPTING REPORT AND RECOMMENDATION
                               AND ORDER OF TRANSFER

        After reviewing all relevant matters of record in this case, including the Report and Recommendation

of the United States Magistrate Judge, in accordance with 28 U.S.C. § 636(b)(1), the undersigned District

Judge is of the opinion that the findings and conclusions of the Magistrate Judge are correct and they are

accepted as the findings and conclusions of the Court.

        For the reasons stated in the Report and Recommendation of the United States Magistrate Judge, the

Court hereby CONSTRUES defendant’s “Motion for a New Trial” (doc. 177) as a motion to vacate filed

pursuant to 28 U.S.C. § 2255 and DIRECTS the Clerk of the Court to open a new civil action; file the instant

motion in that action as a § 2255 motion filed March 8, 2005; file this Order in that action as an Order of

Transfer; and without further judicial action, immediately transfer the new § 2255 action as a successive

motion to vacate to the United States Court of Appeals for the Fifth Circuit pursuant to Henderson v. Haro,

282 F.3d 862, 864 (5th Cir. 2002) and In re Epps, 127 F.3d 364, 365 (5th Cir. 1997). The Clerk shall transmit

a copy of this Order to defendant and shall close the new civil action for statistical purposes.

        SIGNED August 26, 2005.



                                                   _________________________________
                                                   SIDNEY A. FITZWATER
                                                   UNITED STATES DISTRICT JUDGE
